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Chief Magistrate Judge Joseph C. Spero
November 22, 2021

                                          November 22, 2021




Chief Magistrate Judge Joseph C. Spero
San Francisco Courthouse
Courtroom F -- 15th Floor
450 Golden Fate Avenue
San Francisco, CA 94102

         Re:       Facebook, Inc. v. BrandTotal Ltd., et al., Case No. 20-cv-07182-JCS

Dear Judge Spero:

       Plaintiff Facebook, Inc. (“Facebook” or “Plaintiff”) and Defendants BrandTotal, Ltd. and
Unimania, Inc. (collectively, “BrandTotal” or “Defendants”) submit this joint letter brief
regarding a discovery dispute in the above-captioned matter. Counsel for the parties attest that
lead counsel met and conferred on the issue presented below via videoconference on November
15, 2021, and agreed to file this letter brief on November 22, 2021.

                                                    Respectfully,

                                                    HUSCH BLACKWELL LLP



                                                    Dustin L. Taylor




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 Entire Letter Brief Filed Under Seal


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                   (Filed Under Seal)
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CONFIDENTIAL – ATTORNEYS’ EYES ONLY

                               CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of November 2021, I caused the foregoing to be filed

electronically with the Clerk of Court and to be served via email on all counsel of record at the

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